Case No. 1:12-cr-00010-MSK Document 872 filed 04/26/13 USDC Colorado pg 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


   Criminal Case Number 12-cr-00010-MSK

   UNITED STATES OF AMERICA,

          Plaintiff,

   v.

   1.     GEORGE H. ASKEW,
   2.     ROMELL E. BULLOCK,
   3.     GREGORY A. COLLINS,
   4.     GEORGE A. GADDY,
   5.     DELBERT J. GARDNER,
   6.     RICHARD W. JOHNSON,
   7.     SHEPS H. KHAMSAHU,
   8.     ERIC LUGO,
   9.     LAWRENCE T. MARTIN,
   10.    JOHNIE A. MYERS,
   11.    DARRELL R. PARKER,
   12.    CALVIN R. RILEY,
   13.    COREY L. RILEY,
   14.    THOMAS A. SCHRAH, JR.,
   15.    JAMES R. SWITZER, and
   16.    CLIFFORD M. WRIGHT,

         Defendants
   ________________________________________________________________________

       JOINT MOTION TO DETERMINE COMPETENCY BASED UPON THE
                          PLEADINGS AND REPORTS
   ________________________________________________________________________

          COMES NOW, the Defendant, George A. Gaddy, by and through his Court-

   appointed attorney, Jeffrey R. Edelman ("Edelman"), of Jeffrey R. Edelman, P.C., and the

   government, by and through its attorney, Guy Till, Assistant United States Attorney, and

   hereby moves this Court for a determination of the Defendant’s competency pursuant to

   the pleadings filed in this matter and the reports of Dr. Birgit Fisher and Dr. Susan
Case No. 1:12-cr-00010-MSK Document 872 filed 04/26/13 USDC Colorado pg 2 of 3




   Bograd, and to vacate the hearing currently scheduled for May 8, 2013, and as grounds

   therefore, states and alleges as follows:

          1.       On or about September 14, 2012, counsel for the Defendant filed his

   Motion for Determination of Mental Competency of the Defendant pursuant to 18 U.S.C.

   § 4241, et seq. (Docket #637).

          2.       Prior to the filing of the Defendant’s Motion to Determine Mental

   Competency, the Defendant had filed his Notice of Disposition (Docket #542) and the

   Court scheduled a Change of Plea Hearing for September 26, 2012 (Docket #543).

          3.       The Defendant withdrew the Notice on or about September 18, 2012

   (Docket #644). As a result of the Defendant’s withdrawal of the notice of disposition and

   the filing of the motion for determination of the Defendant’s competency, the Court

   converted the Change of Plea hearing to a law and motion hearing. (Docket #653).

          4.       At the law and motions hearing on September 26, 2012, the Court granted

   the Defendant’s motion and ordered a competency examination to be completed by Dr.

   Birgit Fisher and a report filed within 45 days. (Docket #666).

          5.       The Defendant filed Dr. Fisher’s report on or about November 9, 2012.

   (Docket #746)

          6.       A second competency examination was completed by Dr. Susan Bograd at

   the request of the government and Dr. Bograd’s report was filed on or about March 7,

   2013 (Docket #843).

          7.       As a result of the competency examinations completed in this matter, a

   competency hearing is currently scheduled for May 8, 2013 at 9:00 a.m. (Docket #847).




                                               -2-
Case No. 1:12-cr-00010-MSK Document 872 filed 04/26/13 USDC Colorado pg 3 of 3




          8.     Since the completion of the aforementioned examinations, the Defendant

   filed his Notice of Disposition (Docket #871) on or about April 22, 2013 contingent upon

   the finding of competency.

          9.     The parties request that this Court make a determination as to the

   Defendant’s competency pursuant to the pleadings and the reports of Dr. Fisher and Dr.

   Bograd without the necessity of the hearing on May 8, 2013.

          WHEREFORE, the parties request that this Court enter an order for a

   determination of the Defendant’s competency after the Court has considered the

   pleadings and the evaluations of the professionals and to vacate the May 8, 2013

   competency hearing, for the reasons stated.

          Respectfully submitted this 26th day of April, 2013.

   JOHN F. WALSH                                  JEFFREY R. EDELMAN, P.C.
   United States Attorney

   s/Guy Till                                     s/ Jeffrey R. Edelman
   _________________________________
   Guy Till                                       Jeffrey R. Edelman
   Assistant United States Attorney               19201 East Mainstreet, Suite 203
   1225 – 17th Street, Suite 700                  Parker, Colorado 80134
   Denver, Colorado 80202                         [720] 851-8440
   [303] 454-0207                                 [720] 851-5874 [fax]
   [303] 454-0401 [fax]                           Email: jredel@earthlink.net
   Email: guy.till@usdoj.gov                      Attorney for Defendant
   Attorney for the Government




                                                 -3-
